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                           UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                            CRIMINAL MINUTE SHEET
USA v.       Rashad Maleek Trice                                                        DISTRICT JUDGE:      Robert J. Jonker

    CASE NUMBER                       DATE              TIME (begin/end)                PLACE                 INTERPRETER
       1:23-cr-95                August 23, 2024     3:05 - 3:36 p.m.             Grand Rapids




                                                            APPEARANCES
Government:                                            Defendant: Sharon Turek / Jasna Tosic /         Counsel Designation:
Doaa Al-Howaishy / Jonathan Roth                       Helen Nieuwenhuis / Scott Graham                FPD / CJA Appointment

             TYPE OF HEARING                                DOCUMENTS                                 CHANGE OF PLEA
    Arraignment:                                   Defendant's Rights                     Charging Document:
       mute             nolo contendre                                                        Read          Reading Waived
                                                   Waiver of Indictment
       not guilty       guilty                                                            Guilty Plea to Count(s)
                                                   Other:
    Final Pretrial Conference                                                             of the
    Detention        (waived      )
                                                                                          Count(s) to be dismissed at sentencing:
    Motion Hearing
    Revocation/SRV/PV                          Court to Issue:

    Bond Violation                                 Order of Detention                         Presentence Report Ordered
    Change of Plea                                 Notice of Sentencing                       Presentence Report Waived
                                                   Order Appointing Counsel                   Plea Accepted by the Court
✔   Sentencing
    Trial
                                               ✔   Other:                                     Plea Taken under Advisement
                                               Judgment & Commitment
    Other:                                                                                    No Written Plea Agreement

                                                             SENTENCING

Imprisonment: Life.                                                 Plea Agreement Accepted:         Yes     No

Probation:                                                          Defendant informed of right to appeal:    ✔ Yes      No
                                                                    Counsel informed of obligation to file appeal:    ✔ Yes     No
Supervised Release: 3 years
Fine: $ 4,500.00                                                    Conviction Information:
Restitution: $                                                          Date: 3/22/24
                                                                        By: Plea
Special Assessment: $ 100.00
                                                                        As to Count (s): 1

ADDITIONAL INFORMATION:
Count 2 of the indictment dismissed on the motion of the United States.
Victim impact statement given orally by Almount Smith, Sr.



                    CUSTODY/RELEASE STATUS                                              BOND AMOUNT AND TYPE

Detention Continued                                                     $

CASE TO BE:                                                         TYPE OF HEARING:

Reporter/Recorder:         Paul Brandell                                Case Manager:      S. Carpenter
